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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
                          Plaintiff,        )
                                            )
v.                                          )      Case No. CR-08-078-JHP
                                            )
TRUMAN LEON BURGESS, a/k/a,                 )
TRUMON LEON BURGESS, and                    )
JACK JAMES,                                 )
                                            )
                          Defendants.       )

                                       ORDER


       This matter comes before this Court on the Defendant’s Motion Pursuant to 18

U.S.C. § 4241 (Determination of Mental Competency to Stand Trial and Assist in

Defense) filed by Defendant’s counsel, Janice W. Purcell, on January 22, 2009

(Docket Entry #49).      Ms. Purcell has raised concerns about the defendant’s

competency to stand trial and requests this Court to order psychological and

psychiatric examinations of the defendant pursuant to 18 U.S.C. § 4241. This Court

also notes the government has filed a response to defendant’s motion indicating the

government does not oppose the requested evaluation. After considering the motion

and all other pleadings, this Court finds the Defendant’s Motion for Competency

Evaluation (Docket Entry #49) should be granted and the Defendant should receive
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a psychological examination for the purpose of determining his competency to stand

trial.

         IT IS THEREFORE ORDERED that the Defendant’s Motion for Competency

Evaluation filed by Defendant’s counsel, Janice W. Purcell, on January 22, 2009

(Docket Entry #49) is hereby GRANTED. Accordingly, pursuant to 18 U.S.C. §§

4241 and 4247(b), this Court hereby orders:

         1.   That a Federal Medical Center for Prisoners shall be

              designated and shall promptly examine this Defendant,

              pursuant to 18 U.S.C. § 4241, to determine whether he is

              suffering from a mental disease or defect rendering him

              mentally incompetent:

              a.    to the extent that he is unable to understand the
                    nature and consequences of the proceedings against
                    him; or

              b.    to properly assist in his own defense; and

         2.   The United States Marshal’s Service shall, pursuant to 18 U.S.C. §§

              4241 and 4247(b), transport the Defendant, Truman Leon Burgess, to

              the designated facility for this examination and shall return Defendant

              following the examination; and




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      3.     After completing the examination, the designated facility

             shall file a psychiatric report on the Defendant with this

             Court, pursuant to 18 U.S.C. § 4247, a copy of which shall

             be provided to the Defendant.

      IT IS FURTHER ORDERED that the Defendant, Truman Leon Burgess, and

the United States Probation Office for this District shall make available to the

designated facility any records, reports, or other documents in their possession which

pertain to this Defendant. Further, Defendant’s counsel shall cooperate with the

designated facility in the processing of the examination.

      IT IS FURTHER ORDERED that any periods of delay resulting from these

proceedings are excluded under the provisions of the Speedy Trial Act, 18 U.S.C. §

3161(h)(1)(a).

      In light of the Court’s order, the jury trial in this matter currently set on

February 2, 2009 is hereby STRICKEN, to be reset as necessary following the Court’s

determination as to Defendant’s competency to stand trial.

      IT IS SO ORDERED this 30th day of January, 2009.




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